Case 15-17386-amc            Doc 45      Filed 01/02/18 Entered 01/02/18 14:52:06                  Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Michael Babatunde Olanrewaju
       Robin Lynne Olanrewaju aka Robin L Roberts                                    CHAPTER 13
                             Debtor(s)

MIDFIRST BANK
                                 Movant
                vs.                                                                NO. 15-17386 AMC

Michael Babatunde Olanrewaju
Robin Lynne Olanrewaju aka Robin L Roberts
                             Debtor(s)

William C. Miller, Esq.                                                        11 U.S.C. Section 362
                                 Trustee

                            MOTION OF MIDFIRST BANK
              FOR RELIEF FROM THE AUTOMATIC STAY UNDER SECTION 362

         1.       Movant is MIDFIRST BANK.

         2.       Debtor(s) is/are the owner(s) of the premises 504 Pembroke Avenue, Lansdowne, PA 19050,

 hereinafter referred to as the mortgaged premises.

         3.       Movant is the holder of a mortgage in the original principal amount of $156,817.00 on the

 mortgaged premises that was executed on December 18, 2007. Said mortgage was recorded on January 24,

 2008 at Book 04287, Page 0241. The Mortgage was subsequently assigned to Movant by way of Assignment

 of Mortgage recorded on August 23, 2016 at Book 05864, Page 1508 in Delaware County.

         4.       William C. Miller, Esq. is the Trustee appointed by the Court.

         5.       The commencement or continuation of mortgage foreclosure proceedings by reason of non-

 payment of monthly mortgage payments was stayed by Debtors’ filing of a Chapter 13 bankruptcy petition.

         6.       The confirmed Chapter 13 Plan provides that Debtor(s) shall cure the pre-petition mortgage

 loan default on the aforesaid mortgage through the Plan, and shall meanwhile make the regular post-petition

 contractual mortgage payments directly to the creditor (the creditor is listed in the Plan as Citimortgage Inc,

 who was the prior claim holder; subsequent to confirmation, the claim was transferred to Movant, as reflected

 in the claim transfer notice filed on August 26, 2016).
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        7.       Debtors have failed to make the post-petition mortgage payments due in the amount of

$1,452.26 per month for the months of October 2017 through November 2017, plus monthly late charges of

$33.85 for each of the aforesaid months, less a suspense balance of $197.20.

        8.       In addition to being owed the aforesaid amounts, Movant has also incurred $850.00 in legal

fees and $181.00 in legal costs, as of the date hereof, in connection with seeking the relief requested in this

Motion. Movant reserves all rights to seek an award or allowance of such fees and expenses in accordance

with the terms of the loan and mortgage, the Bankruptcy Code and other applicable law.

        9.       The total amount necessary to cure the post-petition delinquency on the mortgage loan and

to reinstate the loan post-petition is $2,775.02 (plus attorney’s fees & costs).

        10.      Movant is entitled to relief from stay for cause.

        11.      This motion and the averments contained herein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the loan and mortgage, and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay to permit Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgaged premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, including reasonable attorney's fees in accordance

with the loan and mortgage terms, and current law, together with interest.


                                                          /s/ Matteo S. Weiner , Esquire
                                                          Matteo S. Weiner, Esquire
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                                                          Attorneys for Movant/Applicant
Dated: January 2, 2018
